Case 2:05-cr-20187-SH|\/| Document 10 Filed 06/27/05 Page 1 of 2 Pa e|D 10
FlL!ZD §3"§ , .C.

IN THE UNITED STATES DISTRICT COURT 5 dle 27 AH mr l 3
FOR THE WESTERN DISTRICT OF TENNESSEED

WESTERN DIVISION § §1 ;; , t`,"-i Ti~`- ;G§_ii`)
(`JLE .§. U3. lDi$'l'. CT.
. V‘», LJ. '\Jl lH, lucien ing-

 

UNITED STATES OF AMERICA

v.
05-20187-Ma
MILTON JOHNSON

 

ORDER ON ARRAIGNMENT

 

   

This cause came to be heard on
for this district appeared on behalf of the
counsel:

NAME_M 2%471' Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

,the United States Attorney
emment, and the defenth appeared 111 person and with

 

All motions shall be filed within thirty (3 0) days from the date hereof unless for good cause
shown to a District Judge, such period ls extended

The defendant, Who 1s not in custody, may stand on his present bond.
e defendant, (not having e bond) (being amst}l.e*&isoner) (being a federal prisoner)
(being held without bond pursuan to BRA of 1984), is re anded to the custody of the U.S. Marshal.

 

UNITED sTATEs MAGISTRATE JUDGE

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: K. Ear]ey

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Tnis document entered on the . 5 LJ/

With Fiul€ 55 andfol' 32(b) FHCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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June 28, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Sarnuel Mays
US DISTRICT COURT

